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              EXHIBIT A
                                                                                         Case 3:22-cv-04792-RS                      Document 136-2                  Filed 08/28/24            Page 2 of 2


Katz-Lacabe, et al. v. Oracle America, Inc. - Lodestar Summary by Category

Firm Name:            Lieff Cabraser Heimann & Bernstein, LLP
Reporting Period:     Inception to 08/08/24
                                                                                                                           CATEGORY CODES
             1. Draft/Research/File Complaints           4. Factual Research                          7. Discovery Meet and Confers                         10. Experts                               13. Class Certification                              16. Administrative
             2. Plaintiff & Class Communications         5. Legal Research                            8. Depositions                                        11. Court Appearances/Prep                14. Mediation                                        17. Miscellaneous
             3. Document Review                          6. Drafting/Responding to Discovery          9. Pleadings, Briefs and Pretrial Motions             12. Litigation Strategy and Analysis      15. Settlement & Settlement Approval                 18. Case Management

       Name                  Title              1            2          3          4            5         6         7        8          9          10          11         12        13        14         15        16       17       18      Total Hours   Billing Rate     Lodestar
     Attorneys
Nabila Abdallah       Associate               20.20         4.80      30.00       7.60     109.90      137.20     40.00    32.00     207.40       11.80       32.50    342.10       0       18.00       14.50     1.60     1.90     28.80     1,040.30       $530.00        $551,359.00
Jallé Dafa            Associate               267.80       27.20       6.20       9.80     77.00       132.30     21.60     4.10     128.70       12.70       17.20     53.40       0          0        7.30       0       5.70     42.30      813.30        $710.00        $577,443.00
Roger Geissler        Staff Attorney            0            0       1,431.00     8.00          0         0         0        0          0           0           0         0         0          0          0        0         0        0       1,439.00       $525.00        $755,475.00
Amelia Haselkorn      Associate                 0            0        13.70      13.70     41.70        71.50     9.00       0        73.80        2.20       2.00      36.20       0       13.60       60.20     1.70     13.40    2.50       355.20        $570.00        $202,464.00
James Leggett         Staff Attorney            0            0       1,146.50      0            0         0         0        0          0           0           0         0         0          0          0        0         0        0       1,146.50       $525.00        $601,912.50
John Maher            Associate               93.90         0.70       2.60      66.50     17.50        80.00     47.90      0       164.70       35.10       10.30    340.10       0       56.30       88.10    11.00     13.60   126.90     1,155.20       $720.00        $831,744.00
David Rudolph         Partner                 867.60       16.90        0        98.30     10.40       337.60    203.10    57.40     1,114.20     246.10     108.80      6.40     57.60     43.70      161.90      0         0      5.70      3,335.70      $1,015.00     $3,385,735.50
Cameron Saunders Staff Attorney                 0            0        693.00       0            0         0         0        0          0           0           0       26.10       0          0          0        0         0        0        719.10        $525.00        $377,527.50
Jerry Shindelbower    Staff Attorney            0            0       1,009.70      0            0         0         0        0          0           0           0         0         0          0          0        0         0        0       1,009.70       $525.00        $530,092.50
Michael Sobol         Partner                 234.90        2.50      33.70      11.30     17.60       119.90     6.30      4.20     220.80       45.80       70.90     86.90      2.30     46.00      146.50      0       1.00     71.30     1,121.90      $1,380.00     $1,548,222.00
Ryan Sturtevant       Staff Attorney          12.00          0        451.60       0            0       6.00        0        0        12.00         0           0       26.10       0          0          0        0         0        0        507.70        $525.00        $266,542.50
   Support Staff
                      Litigation Support
Margie Calangian                                0            0          0          0            0       4.60        0        0          0           0           0        5.10       0          0          0      17.80     2.80     9.30        39.60        $535.00         $21,186.00
                      Specialist
Miriam Gordon         Paralegal               41.20        15.40      10.00      22.10         1.60     10.30       0       2.40      76.70        4.20       1.60       0.30       0        5.70       15.40    22.80     15.20    1.20       246.10        $510.00        $125,511.00
                      Litigation Support
Anthony Grant                                   0            0        43.90        0            0         0       3.20       0          0           0         3.10        0         0          0          0       7.40       0        0         57.60        $535.00         $30,816.00
                      Specialist
                      Litigation Support
Fawad Rahimi                                    0            0          0          0            0         0         0        0          0           0           0         0         0          0          0       0.30     58.90      0         59.20        $535.00         $31,672.00
                      Specialist
                      Research
Jennifer Rudnick                                0            0          0         8.10     11.20          0         0        0          0           0           0         0         0          0        2.80       0         0        0         22.10        $535.00         $11,823.50
                      Assistant
                      Litigation Support
Muna Texier                                     0            0        30.90        0            0         0         0        0          0          0.20         0         0         0          0          0       0.20     0.80       0         32.10        $535.00         $17,173.50
                      Specialist
                               TOTAL          1,537.60       67.50   4,902.80     245.40 286.90         899.40    331.10   100.10    1,998.30      358.10     246.40    922.70     59.90     183.30     496.70     62.80   113.30 288.00       13,100.30                  $9,866,699.50
